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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
____________________________________
                                    )
SPEECH FIRST, INC.,                 )
                                    )
                                    )
                Plaintiff,          )
                                    ) Civil No. 2:18-cv-11451-LVP-EAS
v.                                  ) Hon. Linda V. Parker
                                    ) Mag. Judge Elizabeth A. Stafford
MARK SCHLISSEL, et al.,             )
                                    )
                                    )
                Defendants.         )
____________________________________)

       DEFENDANTS’ MOTION FOR EXTENSION OF TIME
TO OPPOSE PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
           AND BRIEF IN SUPPORT OF THE MOTION

        Defendants, pursuant to Eastern District of Michigan Local Rule 65.1,

respectfully request that this Court grant an extension through June 25, 2018, for

them to respond to Plaintiff’s Motion for Preliminary Injunction, for the following

reasons:

        1.   Plaintiff, a nationwide advocacy group, seeks a preliminary injunction

to enjoin fourteen University of Michigan officials from “taking any actions to

investigate, threaten or punish” students who violate the school’s prohibitions on

harassment and bullying, and to enjoin the University from allowing its Bias

Response Team to receive complaints of alleged incidents of bias on campus and

then address them. PI Mem. at 25.

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        2.     Plaintiff purports to act on behalf of three anonymous students

(identified as A, B, and C) who allegedly wish to engage in an “intellectual debate”

about topics ranging from gun rights to abortion to welfare and who contend that

their ability to do so is being chilled. There is, however, nothing in the University’s

policies that inhibits these unnamed students from engaging in any such discussions.

Indeed, the very policy under which Plaintiff sues emphasizes the University’s

commitment to “freedom of expression” and “vigorous discourse.” PI Ex. A at 1, 3;

see also University of Michigan, Standard Practice Guide Policy 601.1: Freedom of

Speech and Artistic Expression (“Expression of diverse points of view is of the

highest importance, not only for those who espouse a cause or position and then

defend it, but also for those who hear and pass judgment on that defense. The belief

that an opinion is pernicious, false, or in any other way detestable cannot be grounds

for its suppression.”).1      Furthermore, counsel for the University has assured

Plaintiff’s counsel that Students A, B, and C will not be subject to disciplinary action

for expressing their views.

        3.     Plaintiff chose to file its lawsuit without first approaching the

University to discuss its concerns. Although it is a simple matter to provide Students

A, B, and C with the assurance that they are free to express the views set forth in the



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    Available at http://spg.umich.edu/policy/601.01.

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Complaint—and Defendants have already done this—it will require a more

extensive factual presentation to respond to the various arguments set forth in

support of the request for a preliminary injunction, including arguments going not

only to the merits of Plaintiff’s claims, but also to the issues of standing, mootness,

and irreparable harm and the public interest.

        4.   Defendants and their counsel need a fair opportunity to assemble the

factual and legal record necessary to counter Plaintiff’s motion and to address the

mistaken factual and legal premises on which it is based. It will take time for

Defendants and their counsel to pull together the evidence that shows that the

Plaintiff has mischaracterized its policies and programs and how they have been

applied, and has painted a picture of the University that does not reflect the true

vibrancy of debate and discussion on campus. The policies and programs at issue

here are of fundamental importance to the University and its students, and they share

an interest in ensuring that the Court is presented with a full and fair record on which

to base its decision.

        5.   On Monday, May 14, counsel for Defendants contacted Plaintiff’s

counsel to request that they agree to allow Defendants 45 days from service of

Plaintiff’s motion (i.e., to and including June 25) to respond to the motion.

Plaintiff’s counsel declined to consent to this request, making this motion necessary.




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        6.    Plaintiff’s counsel have stated that they would consent to no more than

30 days for Defendants to respond.2 Plaintiff has stated in its motion that it wishes

to obtain “a decision . . . by the Sixth Circuit” before classes resume. PI Mem. at

25. But Plaintiff’s desire to race to the Court of Appeals is no reason to deny this

Court a full record (and adequate time) upon which to base its ruling. Plaintiff has

had ample time to prepare its Complaint, and nothing prevented Plaintiff from

commencing this action weeks, months or even years before it did so.

        7.    There is no emergency that warrants an expedited briefing schedule in

this case. The 2017-18 academic year officially ended at commencement (on April

28, 2018); the vast majority of students are on summer break; and as noted above

the University through counsel has assured Students A, B, and C that they are free

to express the views set forth in their Complaint without fear of disciplinary action.

        For the foregoing reasons, Defendants respectfully request that the Court set

a response date of June 25, 2018, for Defendants’ opposition to Plaintiff’s motion

for a preliminary injunction.

Dated May 16, 2018                      Respectfully Submitted,

                                        /s/Rian C. Dawson
                                        Attorney for Defendants




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  Plaintiff’s counsel would then propose 14 days for a reply, with oral argument
shortly thereafter.

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 WILLIAMS & CONNOLLY LLP                 HONIGMAN MILLER SCHWARTZ
                                         AND COHN LLP
 Kevin T. Baine (D.C. Bar No. 238600)
 Stephen J. Fuzesi (D.C. Bar No.         J. Michael Huget (P39150)
 496723)                                 Leonard M. Niehoff (P36696)
 Kathryn “Kylie” Hoover (D.C. Bar        315 East Eisenhower Parkway
 No. 1017260)                            Suite 100
 Amy B. McKinlay (D.C. Bar No.           Ann Arbor, MI 48108
 1034542)                                Tel: (734) 418-4254
 725 Twelfth Street, N.W.                Fax: (734) 418-4255
 Washington, D.C. 20005                  mhuget@honigman.com
 (202) 434-5000                          lniehoff@honigman.com
 kbaine@wc.com
 sfuzesi@wc.com                       Adam M. Wenner (P75309)
 khoover@wc.com                       Rian C. Dawson (P81187)
 amckinlay@wc.com                     660 Woodward Ave.
                                      2290 First National Building
 OFFICE OF THE VICE PRESIDENT Detroit, MI 4826
 AND GENERAL COUNSEL                  Tel: (313) 465-7730
 UNIVERSITY OF MICHIGAN               Fax: (313) 465-7731
                                      awenner@honigman.com
 Timothy G. Lynch (P77385)            rdawson@honigman.com
 David J. Masson (P37094)
 Jack Bernard (P62975)
 5010 Fleming Administration Building
 503 Thompson Street
 Ann Arbor, Michigan 48109-1340
 (734) 764-0305
 timlynch@umich.edu




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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
__________________________________________
                                    )
SPEECH FIRST, INC.,                 )
                                    )
                                    )
                Plaintiff,          )
                                    ) Civil No. 2:18-cv-11451-LVP-EAS
v.                                  ) Hon. Linda V. Parker
                                    ) Mag. Judge Elizabeth A. Stafford
MARK SCHLISSEL, et al.,             )
                                    )
                                    )
                Defendants.         )
____________________________________)

       DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR
           EXTENSION OF TIME TO OPPOSE PLAINTIFF’S
             MOTION FOR PRELIMINARY INJUNCTION

        For the reasons stated in Defendants Motion for Extension of Time To Oppose

Plaintiffs’ Motion For Preliminary Injunction, and pursuant to Local Rule 65.1,

Defendants respectfully request the Court to grant thier motion for a brief

extension—expiring on June 25, 2018—to respond to Plaintiff’s Motion for

Preliminary Injunction.

Dated May 16, 2018                     Respectfully Submitted,

                                       /s/Rian C. Dawson
                                       Attorney for Defendants

 WILLIAMS & CONNOLLY LLP                  HONIGMAN MILLER SCHWARTZ
                                          AND COHN LLP
 Kevin T. Baine (D.C. Bar No. 238600)
 Stephen J. Fuzesi (D.C. Bar No.      J. Michael Huget (P39150)
 496723)                              Leonard M. Niehoff (P36696)
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 Kathryn “Kylie” Hoover (D.C. Bar        315 East Eisenhower Parkway
 No. 1017260)                            Suite 100
 Amy B. McKinlay (D.C. Bar No.           Ann Arbor, MI 48108
 1034542)                                Tel: (734) 418-4254
 725 Twelfth Street, N.W.                Fax: (734) 418-4255
 Washington, D.C. 20005                  mhuget@honigman.com
 (202) 434-5000                          lniehoff@honigman.com
 kbaine@wc.com
 sfuzesi@wc.com                       Adam M. Wenner (P75309)
 khoover@wc.com                       Rian C. Dawson (P81187)
 amckinlay@wc.com                     660 Woodward Ave.
                                      2290 First National Building
 OFFICE OF THE VICE PRESIDENT Detroit, MI 4826
 AND GENERAL COUNSEL                  Tel: (313) 465-7730
 UNIVERSITY OF MICHIGAN               Fax: (313) 465-7731
                                      awenner@honigman.com
 Timothy G. Lynch (P77385)            rdawson@honigman.com
 David J. Masson (P37094)
 Jack Bernard (P62975)
 5010 Fleming Administration Building
 503 Thompson Street
 Ann Arbor, Michigan 48109-1340
 (734) 764-0305
 timlynch@umich.edu




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                          CERTIFICATE OF SERVICE

        This is to certify that on May 16, 2018, a copy of the foregoing was

electronically filed with the Clerk of the Court using the ECF system which will

send notification of such filing to the attorneys of record.



                                 Respectfully submitted,

                                 HONIGMAN MILLER SCHWARTZ
                                   AND COHN LLP

                                 /s/Rian C. Dawson
                                 Rian C. Dawson (P81187)
                                 660 Woodward Ave.
                                 2290 First National Building
                                 Detroit, MI 4826
                                 Tel: (313) 465-7730
                                 Fax: (313) 465-7731
                                 rdawson@honigman.com




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